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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA




 JAMES M. MALARIK,                           )
                                             )        Civil Action Nos. 21-194, 21-779, 21-780,
                         Plaintiff,          )          21-839, 21-855
                                             )
                    v.                       )
                                             )        District Judge William S. Stickman
 BEAVER COUNTY JAIL                          )        Magistrate Judge Lisa Pupo Lenihan
 ADMINISTRATION, et al.,                     )
                                             )
                         Defendants.         )




                                      MEMORANDUM ORDER

       Since the closure of the above referenced cases, Plaintiff has submitted numerous filings

to the Court. These filings have been largely, if not entirely, indecipherable. As best the Court

can tell, most appear to be pages filled with columns of names and sometimes phone numbers

and addresses. Because the Court has not been able to discern any specific requests in the

filings, the Clerk has been docketing the filings as correspondence. Plaintiff is hereby warned

that the Clerk will no longer docket his filings in these cases if they are indecipherable and not in

the form of a motion or other appropriate pleading. All pleadings and motions must contain a

caption with the Court’s name and the case number and must also contain a heading with the title

of the pleading or with the specific relief that he is seeking. As such, the following order is now

entered:

                           AND NOW, this 20th day of October, 2021,



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       IT IS HEREBY ORDERED that at the Court’s direction the Clerk of Court will be

instructed to return to Plaintiff any filing that is not in compliance with this Order and to note

such return on the docket.




                                                              ______________________
                                                              Lisa Pupo Lenihan
                                                              United States Magistrate Judge


Cc:    James M. Malarik
       20-01343
       Beaver County Jail
       6000 Woodlawn Street
       Aliquippa, PA 15001




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